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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


 AMERICA FIRST LEGAL FOUNDATION,
 611 Pennsylvania Avenue SE #231
 Washington, DC 20003

              Plaintiff

              v.
                                                   Civil Action No.: 23-2172
 FEDERAL BUREAU OF INVESTIGATION,
 935 Pennsylvania Ave NW
 Washington, DC 20535-0001

 and

 DEPARTMENT OF JUSTICE
 950 Pennsylvania Ave NW
 Washington, DC 20530-0001

              Defendants.


                                   COMPLAINT

       1.    The Plaintiff, America First Legal Foundation (“AFL”), brings this

action against the Federal Bureau of Investigation (“FBI”) and the Department of

Justice (collectively, “Defendants”) to compel compliance with the Freedom of

Information Act (“FOIA”), 5 U.S.C. § 552.

       2.    Secretary Alejandro Mayorkas’s loss of public confidence has garnered

the introduction of several resolutions seeking his impeachment in the 118th

Congress. See, e.g., H.R. Res. 8, 118th Cong. (2023); H.R. Res. 89, 118th Cong. (2023);

H.R. Res. 411, 118th Cong. (2023); H.R. Res. 470, 118th Cong. (2023); see also H.R.

Res. 477, 118th Cong. (2023) (authorizing and directing the Committee on the


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Judiciary to investigate whether sufficient grounds exist for impeachment); S. Res.

169, 118th Cong. (2023) (expressing the sense of the Senate that he does not have the

confidence of the Senate or of the American people to faithfully carry out the duties

of his office).

       3.         Accordingly, AFL brings this action to uncover the FBI background

investigations records that may reveal the truth about Secretary Mayorkas’s fitness

to hold public office.

                              JURISDICTION AND VENUE

       4.         The Court has jurisdiction over this action pursuant to 5 U.S.C.

§ 552(a)(4)(B) and 28 U.S.C. § 1331. Additionally, it may grant declaratory relief

pursuant to 28 U.S.C. § 2201, et seq.

       5.         Venue is proper in this District pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1391(e).

                                          PARTIES

       6.         The Plaintiff, AFL, is a nonprofit organization working to promote the

rule of law in the United States, prevent executive overreach, ensure due process and

equal protection for all Americans, and encourage public knowledge and

understanding of the law and individual rights guaranteed under the United States

Constitution and the laws of the United States. AFL’s mission includes promoting

government transparency and accountability by gathering official information,

analyzing it, and disseminating it through reports, press releases, and/or other

media, including social media platforms, all to educate the public.



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       7.    Defendant FBI is an agency within the meaning of 5 U.S.C. § 552(f), is

located within the District of Columbia, and has possession and control of the records

AFL seeks.

       8.    Defendant Department of Justice is an agency within the meaning of 5

U.S.C. § 552(f), is located within the District of Columbia, and has possession and

control of the records AFL seeks.

                               AFL’S FOIA REQUEST

       9.    On January 6, 2023, AFL submitted a FOIA request to the FBI, seeking

records of “the FBI background investigation, Form SF-86, and any supporting

security clearance documentation, including waiver forms [completed] by Alejandro

Mayorkas or his designees for the purpose of allowing the FBI to conduct a

background investigation as part of his nomination[s]” for Secretary of Homeland

Security, Deputy Secretary of Homeland Security, Director of the United States

Citizenship and Immigration Services, and the United States Attorney for the

Central District of California, “as produced to or shared with” Congress. Exhibit A at

4–9.

       10.   In the request, AFL explained that Privacy Act protections were waived

once the records were disclosed to Congress. Id. at 4–5; see also Am. Oversight v. U.S.

Dep’t of Just., 375 F. Supp. 3d 50 (D.D.C. 2019) (showing that the Defendants, in

response to another FOIA request, released Attorney General Jeff Sessions’s SF-86

and other records prepared during his background check).




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      11.     AFL requested expedited processing of the request because, inter alia,

Secretary Mayorkas has “authority over the unprecedented neglect of American

borders and his central role in triggering both a massive humanitarian crisis and

national security vulnerabilities for every American citizen,” which is a “pressing

matter of critical national importance.” Id. at 7.

      12.     AFL also requested expedited processing of the request because “[t]he

information    contained     in   Secretary   Mayorkas’s    previous   FBI    background

investigations is vital to exploring his alleged fitness to hold his current office” in the

context of his “impending impeachment.” Id. at 8.

      13.     On January 13, 2023, the FBI responded to AFL’s request, stating that

the “records on third party individual(s) [AFL] requested are categorically denied

pursuant to FOIA exemptions (b)(6) and (b)(7)(C).” Exhibit A at 11–14.

      14.     On April 13, 2023, AFL appealed the FBI’s denial. Exhibit A at 1.

      15.     On June 16, 2023, the Department of Justice affirmed the FBI’s denial

of AFL’s request. Exhibit B.

                                   CLAIM FOR RELIEF

                           Violation of FOIA, 5 U.S.C. § 552

      16.     AFL repeats paragraphs 1–15.

      17.     AFL properly requested records within the possession, custody, and

control of the Defendants.

      18.     The FBI failed to conduct a reasonable search for responsive records.




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      19.      The FBI improperly withheld the responsive records under FOIA

pursuant to 5 U.S.C. §§ 552(b)(6) and (b)(7)(C).

      20.      Moreover, the FBI failed to disclose any segregable, non-exempt

portions of responsive records. See 5 U.S.C. § 552(b).

      21.      AFL properly appealed the FBI’s determination to withhold the

responsive records in full.

      22.      The Department of Justice improperly affirmed the FBI’s determination

to withhold the responsive records in full.

      23.      Accordingly, AFL has exhausted its administrative remedies. See 5

U.S.C. § 552(a)(60(C).

      24.      The Defendants violated the FOIA by failing, within the prescribed time

limit, to (i) reasonably search for records responsive to AFL’s FOIA requests; (ii)

provide a lawful reason for the withholding of any responsive records; and (iii)

segregate exempt information in otherwise non-exempt responsive records.


                               RELIEF REQUESTED

      WHEREFORE, AFL respectfully requests this Court:

     i.        Declare that the records sought by these requests, as described in the

foregoing paragraphs, must be disclosed pursuant to 5 U.S.C. § 552;

    ii.        Order the Defendants to conduct searches immediately for all records

responsive to AFL’s FOIA requests and demonstrate that they employed search

methods reasonably likely to lead to the discovery of responsive records;




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      iii.        Order the Defendants to produce by a date certain all non-exempt

records responsive to AFL’s FOIA requests;

      iv.         Award AFL attorneys’ fees and costs pursuant to 5 U.S.C. § 552(a)(4)(E);

and

       v.         Grant AFL such other and further relief as this Court deems proper.



July 26, 2023.

                                            Respectfully submitted,


                                            /s/ Michael Ding
                                            MICHAEL DING (D.C. Bar No. 1027252)
                                            JACOB MECKLER (D.C. Bar No. 90005210)
                                            AMERICA FIRST LEGAL FOUNDATION
                                            611 Pennsylvania Avenue SE #231
                                            Washington, D.C. 20003
                                            Tel.: (202) 964-3721
                                            E-mail: michael.ding@aflegal.org

                                            Counsel for the Plaintiff
                                            America First Legal Foundation




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